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                  Exhibit A
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Michael Gibaldi

From:                    SG <steve@batterypark.tv>
Sent:                    Wednesday, April 12, 2017 7:36 PM
To:                      Michael Gasi, Esq.
Cc:                      Michael Tremonte; Michael Gibaldi; Justin Gunnell; Riegel Deborah; Isaac D. Tilton
Subject:                 Notice of written deposition of Linda Soriero
Attachments:             2017 4-12-2017 Notice of Written Deposition to Linda Soriero.pdf




Steven Greer
(212) 945-7252




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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


STEVEN E. GREER, MD                        )
                                           )
                                           )        CIVIL ACTION NO.
                                           )
              Plaintiff;                   )      15-CV-6119 (AJN)(JLC)
                                           )
       v.                                  )
                                           )
                                           )          NOTICE OF
Dennis Mehiel, Robert Serpico, The Battery )
                                                 WRITTEN DEPOSITION
Park City Authority, Howard Milstein,      )      OF LINDA SORIERO
Steven Rossi, Janet Martin, Milford        )
Management, Mariners Cove Site B           )
Associates
                                           )
                                           )
                                           )
              Defendants.                  )
                                           )
                                           )
                                           )
                                           )
                                            )




                                                Steven Greer, pro se
                                                4674 Tatersall Court
                                                Columbus, Ohio 43230
                                                (212) 945-7252
                                                steve@batterypark.tv




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       PLEASE TAKE NOTICE that, pursuant to Rule 31 of the Federal Rules of Civil

Procedure, Steven Greer will take the written deposition of Linda Soriero on April 12, 2017.

The questions are attached, below. The written answers should be returned by April 14, 2017,

which is the deadline for all discovery set by the judge. The defendants in this case will have an

opportunity to serve Ms. Soriero with cross-questions at her address of 1762 West 11th Street,

Brooklyn, NY 11223-1142




Dated: April 12th, 2017
       New York, NY


/s/ Steven Greer, pro se
4674 Tatersall Court
Columbus, Ohio 43230
(212) 945-7252




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1.    How long did you work for the BPCA?

2.    What was your job role?

3.    Did you have access to Mr. Serpico’s office and computer?

4.    Were you recently fired by the BPCA? Why?

5.    Do you know of others in the BPCA also fired for no good reason?

6.    Do you know who Steven Greer is? If so, when did you first learn of him?

7.    Is Steven Greer respected in his community of Battery Park City and Lower Manhattan?

8.    What makes you believe that?

9.    Do you know that Steven Greer runs the online news site BatteryPark.TV?

10. Do you think that the BatteryPark.TV news site is well respected as a source of truthful undercover

      reporting on the BPCA?

11. Within the BPCA offices, do many people follow the stories on BatteryPark.TV?

12. Are BatteryPark.TV stories the topic of discussion often?

13. Please recall for me every instance in which either Steven Greer or his articles were discussed internally at

      BPCA.

14. Did Robert Serpico follow BatteryPark.TV?

15. Did any of BatteryPark.TV stories upset Serpico?

16. Did any of Steven Greer’s stories upset Mr. Serpico’s wife enough to have them consider suing him?

17. Did Chairman/CEO Dennis Mehiel draft a letter to Steven Greer threatening Greer to stop hurting the

      reputation of the BPCA?

18. Who is Steve Rossi?

19. How often would you see Serpico and Rossi meeting over coffee or on some other informal location?

20. Did you ever see or hear BPCA employees and anyone from the Milstein/Milford companies meet to

      discuss any issue? What issues?

21. Did you ever hear or see the topic of Steven Greer’s apartment lease come up in any context? Please

      describe.




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22. Do you believe that Mr. Serpico retaliated against Steven Greer for his reporting of scandals related to Mr.

    Serpico?

23. How did Serpico retaliate?

24. Why did Serpico retaliate against Greer? Was it because of the scandals uncovered in BP.TV, such as

    Serpico’s history of alleged sexual harassment?

25. Did you see Serpico meet with Rossi in late 2013 or January of 2014 while Serpico was the acting president

    of the BPCA?

26. Did you see any emails between the Rossi and Serpico discussing Greer or his apartment?

27. Who else at the BPCA might have helped Serpico to retaliate against Greer?




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